        Case 1:21-mj-00418-GMH Document 1-1 Filed 05/07/21 Page 1 of 8




                                   STATEMENT OF FACTS

        Your affiant, Jennifer A. Morrow, has been a Special Agent assigned to the Federal Bureau
of Investigation (FBI) for nineteen years. In my duties as a special agent, I investigate federal
criminal violations related to violent crime, dr
Images National Initiative, which investigates matters involving the online line sexual exploitation
of children. Currently, I am a tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a special agent, I am authorized by law or by a Government agency
to engage in or supervise the prevention, detention, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House
and Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away from
the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 PM, individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

        Shortly thereafter, at approximately 2:20 PM, members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
                                                  ate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 PM. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.
        Case 1:21-mj-00418-GMH Document 1-1 Filed 05/07/21 Page 2 of 8




        During national news coverage of the aforementioned events, video footage which appeared
to be captured on mobile devices of persons present on the scene depicted evidence of violations of
local and federal law, including scores of individuals inside the U.S. Capitol building without
authority to be there.

        On January 9, 2021, the FBI received a tip from a witness (Witness 1) that GARY
WICKERSHAM was inside the Capitol on January 6, 2021. Witness 1 gave FBI agents second-
hand information that they learned from another witness (Witness 2). Witness 2 told Witness 1 that
they had received a text message from WICKERSHAM on January 6, 2021. In the text,
WICKERSHAM allegedly told Witness 2 that he was inside of the Capitol. Witness 1 indicated
that they know WICKERSHAM, that WICKERSHAM lives on West Chester Pike in West Chester,
Pennsylvania, and provided WICKERSHAM

       With the information provided by Witness 1, FBI agents were able to find a name and home
address for WICKERSHAM. Further, agents were ab                          license photograph (not
pictured) and a publicly viewable Facebook profile picture (below) of WICKERSHAM.
         Case 1:21-mj-00418-GMH Document 1-1 Filed 05/07/21 Page 3 of 8




      Based on these photographs, the FBI located an open-source video in which an individual
who appears to be WICKERSHAM is seen inside the Capitol building (cropped screenshots below).




                                                            have viewed the screenshot that appears
above and on the left and identified the individual in the photo as GARY WICKERSHAM.

        On January 15, 2021, law enforcement agents, including your affiant, interviewed the
defendant, Gary WICKERSHAM at his home in West Chester, Pennsylvania. During the non-
custodial interview, the defendant stated in sum and substance that he travelled to Washington,
D.C., by bus to attend a rally with other supporters of former president Trump. The defendant
                                                   and then marched to the U.S. Capitol where he
observed others cursing, screaming, knocking cops away, breaking windows and doors, and
entering the Capitol. The defendant stated that he believes that many of the protesters were members
of Antifa. The defendant stated that he was wearing a leather jacket, blue jeans, and a white baseball
hat with a blue rim.

        The defendant stated that he entered the U.S. Capitol and remained inside for approximately
ten to fifteen minutes. While he was inside, the defendant described seeing protestors and police

defendant further stated that he walked by many offices, including that of Congressman Stenny
Hoyer. The defendant stated that he believed that he was authorized to enter the Capitol because he
pays his taxes. The defendant believes that the entire event was staged, and that law enforcement
purposefully did not have enough resources there so that supporters of the former president could
overrun the Capitol and be subseque
        Case 1:21-mj-00418-GMH Document 1-1 Filed 05/07/21 Page 4 of 8




        Your affiant, who was present at the in-person interview with the defendant, reviewed a
short open-source video clip in which the defendant is seen inside of the Capitol. The following is
a screenshot from that video with a red box around the face of the individual your affiant believes
to be the defendant, Gary WICKERSHAM.




       Your affiant has reviewed CCTV clips provided by the U.S. Capitol Police which show the
                                     ugh the U.S. Capitol on January 6, 2021. This includes, but is
not limited to, the defendant entering the Capitol through the Senate Wing Door at approximately
2:13 PM, as pictured below.
        Case 1:21-mj-00418-GMH Document 1-1 Filed 05/07/21 Page 5 of 8




       At approximately 2:15 PM, the defendant entered the Capitol Crypt and engaged with a
uniformed law enforcement officer, as pictured below.




        After the encounter pictured above, the law enforcement officers pushed the crowd back. A
short time later, the crowd surged forward and began to fill the Crypt. The defendant also reentered
the Crypt and engaged with a different uniformed law enforcement officer, as pictured below.
         Case 1:21-mj-00418-GMH Document 1-1 Filed 05/07/21 Page 6 of 8




        At approximately 2:33 PM, the defendant walked through the hallway in the vicinity of
office H159 in the Capitol. At the end of the hallway, the defendant turned right, as pictured below.
        Case 1:21-mj-00418-GMH Document 1-1 Filed 05/07/21 Page 7 of 8




       At approximately 2:35 PM, the defendant exited the Capitol via a door that leads to the
Upper West Terrace. After exiting the Capitol, the defendant turned, spoke to an unidentified
female, and pointed back inside the Capitol, as pictured below.
         Case 1:21-mj-00418-GMH Document 1-1 Filed 05/07/21 Page 8 of 8




         Based on the foregoing, your affiant submits that there is probable cause to believe that
GARY WICKERSHAM violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do; and
(2) knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly
conduct of Government business or official functions; or attempts or conspires to do so. For
purposes of Section 1752 of Titl                                                   d, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.

        Your affiant submits there is also probable cause to believe that GARY WICKERSHAM
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      JENNIFER A. MORROW
                                                      SPECIAL AGENT
                                                      FEDERAL BUREAU OF INVESTIGATION

       Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 7th day of May 2021.




                                                      U.S. MAGISTRATE JUDGE
